AOD! (Rev. 1/11) Criminal Complaint

 

 

UNITED STATES DISTRICT COURT
for the

Eastern District of California

 

United States of America )
v. )
) Case No. 31 (1G “M4 ~ 0007 “Dye
)
SYLVIA CLARA SIMONSEN )
)
a )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of — February 14, 2019 to May 1,2019 in the county of Shasta in the
Eastern Districtof —— California , the defendant(s) violated:
Code Section Offense Description
18 U.S.C, § 1201 Kidnapping

This criminal complaint is based on these facts:

(see attached affidavit)

Continued on the attached sheet.

   

of

$ signature

[ Complainan,

Peter A. Jackson, Special Agent, FBI
Printed name and title

Sworn to before me and signed in my presence.

    

Date: Way S £218

Judge's signature

City and state: Redding, California Dennis M. Cota, U.S. Magistrate Judge
7 Printed name and title
- AO 442 (Rev. 11/11) (modified) Arrest Warrant

 

UNITED STATES DISTRICT COURT
for the

Eastern District of California

United States of America

v. r

Case No. “3: 1Q-NT- oe? - DyKc
)

SYLVIA CLARA SIMONSEN )
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) SYLVIA CLARA SIMONSEN 3
who is accused of an offense or violation based on the following document filed with the court:

Oo Indictment XC Superseding Indictment 1 Information C Superseding Information & Complaint

CZ Probation Violation Petition Cl Supervised Release Violation Petition © Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 1201 - Kidnapping

 
 

Date: EONS “S$ 20 6

City and state: Redding, California

Issuing officer's signatire ~~ ~~~

Dennis M. Cota, United States Magistrate Judge _

Printed name and title

 

Return

 

This warrant was received on (date) ee , and the person was arrested on (date)
at (city and state)

 

Date: 7
Arresting officer's signature

, United States Magistrate Judge

Printed name and title

 

 

 
 

 

 

AFFIDAVIT OF SPECIAL AGENT PETER A. JACKSON
IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
FOR SYLVIA CLARA SIMONSEN

| L Special Agent Peter A. Jackson, United States Department of Justice, Federal Bureau
. ; of Investigation, being first duly sworn, hereby state as follows:
oo Introduction
: 1. _ . This affidavit is submitted in support of (1) a criminal complaint charging Sylvia Clara
“3 SIMONSEN with violations of federal law, specifically 18 U.S.C. § 1201 (Kidnapping) and (2)
"an arrest warrant for SIMONSEN.

<°.2,.° + The facts and information set forth in this Affidavit are based upon my personal

knowledge obtained during this investigation, information provided to me by other investigators,
as well as documents and records obtained through the course of this. investigation. This case is
being investigated by me and other Special Agents (SAs) of the Federal Bureau of Investigation,
with assistance from various state and local law enforcement agencies. The Boy’s Town Police
Department in Omaha, Nebraska, initiated this case in response to the disappearance of two
juveniles, a brother and sister, named herein by their initials as P.O. and C.O., respectively.
3. Because I am submitting this Affidavit for the limited purpose of establishing probable
cause for the requested warrant and complaint, I have not included every fact known to me
concerning this investigation. Accordingly, contained herein are facts sufficient to establish
probable cause to believe that SIMONSEN has violated 18 U.S.C. § 1201 (Kidnapping).
Affiant’s Background
4, Iam a Special Agent with the FBI, and have been since August 2008. I am currently
assigned to the Redding Resident Agency in Redding, California. While employed by the FBI, I
have investigated federal criminal violations related to high technology or cybercrime, financial
crime, and violent crime. I have gained experience through training at the FBI Academy in
Quantico, Virginia and everyday work relating to conducting these types of investigations. I am
a federal law enforcement officer who is engaged in enforcing criminal laws, including 18

U.S.C. § 1201 (Kidnapping).
Relevant Facts

os . The United States, including the FBI, is conducting a criminal investigation of

. : _SIMONSEN also known as “Michelle Otte,” “Michelle Bible,” and “Mitch,” regarding

oo violations of 18 U.S.C. § 1201.

 

ob. : Onor about February 14, 2019, a confidential human source (CHS) reported to law

 

- enforcement that the CHS knew the location of two missing juveniles, P.O. (a male juvenile) and

s C0. (a female juvenile, and sister of P.O.), who had gone missing from their court-ordered

: ~tesidence homes in Omaha, Nebraska, and who were the subject of a search by local police (as

explained more fully below). The CHS reported that P.O. and C.O. were residing with

~ SIMONSEN (to whom the CHS referred as “Michelle Otte” or “Mitch”), at 11280 Benson Drive,
Shasta, California. According to the CHS, SIMONSEN was calling the missing boy “Joshua” or
“JP.” and calling the missing girl, “Sarah.”
7, As background, on September 10, 2018, Judge David Stucki of the Cuyahoga County
Domestic Relations Court of the state of Ohio, ordered that P.O. and C.O. should be placed at
Father Flanagan’s Boys’ Home in Boys Town, Nebraska, for residential treatment. Citing as part
of its reasoning the harm the juveniles’ parents had inflicted on them over a period of years,
Judge Stucki’s order prohibited their parents from removing either child from Boys/Girls Town.
The order also notes that, at the time it issued, P.O. remained missing and should be returned to
Boys Town immediately upon being located. P.O. had gone missing from his placement on
May 1, 2018, and C.O. went missing on October 21, 2018. The Court’s order also terminated

- parental rights for both of the juveniles’ parents.
8. The Boys Town Police Department opened active investigations concerning the
juveniles’ disappearances. It is the understanding of the Boys Town Police Department that Boys
Town was the custodial caregivers for P.O. and C.O. At the time the California CHS came
forward, missing person posters for the juveniles were active on the National Center for Missing
and Endangered Children (NCMEC) Web site. Police in Nebraska were able to corroborate

independently some of the information the California CHS provided. Based on the corroborated
information, investigators obtained a search warrant for the property located at 11280 Benson
Drive, which agents executed on February 15, 2019. At that time, the missing juveniles were not

located at the residence, but agents found evidence indicating the children had been in the house,

,. including background information about the missing juveniles, as well as the names “Josh” and

 

 

- “Sarah” on the chore chart posted on the wall. Additionally, evidence seized included receipts
e : for travel to Omaha, Nebraska, from October 2018, the month C.O. went missing.

. 29, : In addition, investigators found in the home invoices addressed to “Michelle Bible,” and
Ms other documents, that had a specific mobile telephone number written on them (the Target Cell
phone). Through an administrative subpoena to Sprint Corp., the provider of mobile telephone
services to the Target Cell Phone, investigators discovered that listed subscriber for the Target
Cell Phone was “MICHELLE CHAVEZ,” and the account was established on May 6, 2017.

10. —_ Included in the evidence collected at 11280 Benson Drive was also a typewritten
narrative entitled “AMANDA, EMILY AND BEN by Mich and Connie, summer 2015 through
2017.” The narrative describes that on June 3, 1961, SYLVIA CLARA AMANDA SIMONSEN
SOLHEIM, referred to as “Amanda” in the narrative, was born in Michigan to Dorothy Bennet
Simonsen (this date is the same as SIMONSEN’s true date of birth). The narrative describes
how “Amanda” was sexually abused in Illuminati ritual ceremonies at the ages of three, six, nine,
twelve, and fifteen years old. It relates how Amanda “managed to rescue 158 people in 41 years.
Many of the people she rescued were adopted by good families, and have always kept in contact
with each other.” The narrative continues, ‘““Amanda did a lot of the rescues when she was 11
through 19. She did many of the rescues while she was young and strong. She was pulling
people out right and left. She had the opportunity and she just kept going. She had great
opportunities because they didn’t know who was doing it, who was taking the kids.” The
narrative describes how “Amanda never cooperated in the rituals. She took much punishment
and believed it was worth the pain, since she said this life is not the most important thing.”

Adding, “It’s just a body and I would do it again.” According to the narrative, when she had her
 

biological children, Emily and Ben, she did not stop. Having her own children just gave her
. more fuel.. She said that she heard the “still small voice of God telling her to free the captives,
and had big angels around her so she was not afraid.” The narrative describes different family
. members that coincide with true names and dates of SIMONSEN’s own family members (such
os as her daughter, Emily). It is unclear how much of the narrative is fiction versus fact, but the
narrative was found in SIMONSEN’s bedroom. Agents also found a sweatshirt in SIMONSEN’s
s closet bearing the words, “MOTHERS OF LOST CHILDREN,” in large bold font.

. | 11. On March 19, 2019, agents interviewed SIMONSEN’s sister, SUE LUNA-SIMONSEN
(Sue) who indicated she contacts SIMONSEN on the Target Cell Phone. The Target Cell Phone
was listed as “Syl” in the contacts on Sue’s mobile phone. Sue told agents that SYVLIA had
stayed with Sue recently for approximately one week, and had two juveniles with her whom
SIMONSEN introduced as “Joshua” and “Sarah,” and who matched the CHS’s physical
description of the missing juveniles.

12. In text messages to Sue, pre-dating SIMONSEN’s arrival at Sue’s house, SIMONSEN
had indicated to Sue that she (SIMONSEN) would be coming to Sue’s house with six people.
When SIMONSEN arrived at Sue’s house, SIMONSEN was accompanied by her own mother,
her adult daughter, Emily Otte, the daughter’s adult boyfriend, as well as “Josh” and “Sarah.”
According to Sue, SIMONSEN and the others with whom she was traveling departed Sue’s
residence on March 18, 2019 (the day before agents had interviewed Sue).

13. Multiple attempts to locate SIMONSEN and the missing juveniles at 11280 Benson Drive
in the following weeks were unsuccessful.

14. Following agents’ execution of the search warrant at 11280 Benson Drive, SIMONSEN
appeared to have taken the missing juveniles to Arizona. On March 6, 2019, SIMONSEN
purchased six dinner tickets, including one child ticket, at the Blazin’ M Ranch in Cottonwood,
Arizona. SIMONSEN provided the Target Cell Phone as her telephone number at the ranch.

15. Pursuant to search warrant 3:19-SW-0005-DMC, signed on April 19, 2019, in the Eastern
District of California, Sprint Corp. began providing precise location data of Target Cell Phone.
On April 29, 2019, precise location data indicated the Target Cell Phone was near Williams,

Arizona. The uncertainty of the location data, however, reporting the phone to be within radii of

-\r'three to 15 miles, made it difficult to pinpoint SIMONSEN’s location.

 

16; | On May 1, 2019, at approximately 9:53 p.m. MST, the precise location data provided by
. © Sprint Corp. identified a much smaller radius of a possible location for the Target Cell Phone,
we just 66 meters, giving GPS coordinates that coincided with a Super 8 Hotel located at 2050

_ :, Dome Rock Road W, Quartzsite, Arizona.

- 17. At approximately 11:00 p.m. MST, FBI SA Donald Ferreira, along with police officers
from Quartzsite Police Department, arrived at 2050 Dome Rock Road W, Quartzsite, and began
‘surveillance. During that time, agents observed a vehicle leaving the parking lot. Quartzsite PD
stopped the vehicle and identified the driver as a desk clerk from the hotel. Agents showed the
clerk photographs of SIMONSEN, P.O., and C.O. The clerk recognized SIMONSEN and P.O.
and stated they were currently staying at the hotel.

18. SA Ferreira then interviewed the desk clerk at the hotel who was on shift at that time
and showed him the photographs of SYLVIA, P.O., and C.O. The clerk indicated that he
recognized P.O, The clerk stated no one had checked in using the name “Sylvia Simonsen,” but
an individual identified as “Dorothy Simonsen” and the boy had checked into room 127.

19, SA Ferreira and Quartzsite police officers went to room 127. Upon knocking, a female
answered the door who was later identified as SIMONSEN. Also in the room was Dorothy
Simonsen, P.O., C.O., Emily Otte, and Otte’s fiancée. SA Ferreira recognized P.O. and C.O. as
the same children depicted in the NCMEC posters who had gone missing from Boys/Girls Town
in Omaha, Nebraska. Quartzsite police arrested SIMONSEN for child endangerment.

20. SA Ferreira later interviewed SIMONSEN. SA Ferreira provided SIMONSEN her
Miranda rights and SIMONSEN agreed to be interviewed without an attorney present.
SIMONSEN stated she picked up P.O. about a year ago, after CONNIE VALENTINE
(VALENTINE) told SIMONSEN that P.O.’s father had abused him. SIMONSEN stated that
VALENTINE arranged the place at which SIMONSEN would pick up P.O. and SIMONSEN

- drove from California to Council Bluffs, lowa to meet P.O. at a Motel 6. SIMONSEN called

 

o P.O. “Josh,” but knew Josh’s real name as P.O. According to SIMONSEN, she took P.O. back
. 7 to California and had told people that he was VALENTINE’S grandson. SIMONSEN recounted

- . that she later went back to Nebraska to pick up C.O., whom she called Sarah. According to

 

SIMONSEN, at the time she first met C.O., C.O. was wearing a nametag bearing her real name.

“ “SIMONSEN located C.O. at Boy’s Town and, when she was close enough to her, whispered, “I

~~ know your brother.” According to SIMONSEN, she then told C.O. that C.O. should follow her

 

out to her car and then SIMONSEN would call her brother “Josh.” SIMONSEN then asked C.O.
if she wanted to go with her to see her brother, to which C.O. responded that she did.

21. SIMONSEN also recounted that police had come to SIMONSEN ’s residence sometime
after last Christmas (likely referring to the search warrant the FBI had executed and for which
agents had left notice) and SIMONSEN had been on the run since then with both P.O. and C.O.
SIMONSEN indicated to agents that she did not consider her actions to be “kidnapping” because
she felt that kidnapping involved people taking children in order to harm them. SIMONSEN
stated she knew what she did was illegal, but did not consider it harmful.

22. SA Ferreira also interviewed Emily Otte. Emily indicated that she knew P.O. and C.O. as
- “Josh” and “Sarah.” She said she believed them to be friends of CONNIE VALENTINE who
lives in Davis, California. Emily stated she had been driving around for the past month with
SIMONSEN and the two juveniles. Emily indicated that she has known “Josh” since he was
sixteen and a half years old, but she has only known “Sarah” since just before Christmas. Emily
also indicated that SIMONSEN turned up with “Josh” first, and later came home with “Sarah.”

- According to Emily, everyone calls SIMONSEN either “Mitch” or “Michelle.”

Summary
Cc

23. SIMONSEN is not a parent to P.O. and C.O., and the FBI believes she is not a blood or
legal relative of any kind to them. Evidence the FBI collected places SIMONSEN in the area of

Boy’s Town, Nebraska in and around the time C.O. went missing. SIMONSEN admitted to SA

. Ferreira that she traveled across multiple states to pick up both minors, returned with them to

California, and then went on the run across state lines to avoid law enforcement detection,

knowing that the FBI was looking for her. SIMONSEN indicated that she seeks to “rescue”

children she believes are being abused, but stated she knew her actions were illegal.
Conclusion

24, Based upon the totality of the facts set forth in this affidavit, there is sufficient probable

cause to charge SIMONSEN with violating 18 U.S.C. § 1201 (Kidnapping), and issue a federal

warrant for her arrest.

I swear under penalty of perjury, that the foregoing information is true and correct to the

best of my knowledge, information, and belief.

Respectfully submitte

OE

 

Peter A. Jackson, Special Agent
U.S. Federal Bureau of Investigation

Subscribed and sworn to before me on: - 3-20

SD

a ___ “

—Fhe Honorable Dennis Cota
UNITED STATES MAGISTRATE JUDGE

 

Approved as to form by:

/s/ James R. Conolly

James R. Conolly
ASSISTANT UNITED STATES ATTORNEY

 
